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                               EXHIBIT 303
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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION
                                       - - -
           IN RE: NATIONAL             :
           PRESCRIPTION                :            MDL No. 2804
           OPIATE LITIGATION           :
           ___________________________ :            Case No.
                                       :            1:17-MD-2804
           THIS DOCUMENT RELATES       :
           TO ALL CASES                :            Hon. Dan A. Polster
                                       - - -
                         Tuesday, February 19, 2019
                HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                         CONFIDENTIALITY REVIEW

                                       - - -

                      Videotaped deposition of CANDACE HARBAUER,

           held at the Hilton Garden Inn, Perrysburg, Ohio,

           commencing at 9:02 a.m., on the above date, before

           Carol A. Kirk, Registered Merit Reporter and Notary

           Public.


                                       - - -


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                              deps@golkow.com




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                                                               Page 2                                                Page 4
     1
     2
                 A P P E A R A N C E S:
         On behalf of the Plaintiffs:
                                                                             1     ALSO PRESENT:
     3       MCHUGH FULLER LAW GROUP                                         2      Michael Newell, Videographer
             BY: LANCE REINS, ESQUIRE
     4          lance@mchughfuller.com                                              Zachary Hone, Trial Technician
     5
                ALLAN (A.J.) L. ELKINS, ESQUIRE
                allan@mchughfuller.com
                                                                         3
                  (via teleconference)                                   4                       ---
     6       97 Elias Whiddon Road
             Hattiesburg, Mississippi 39402
                                                                         5
     7       601-261-2220                                                6
     8
         On behalf of AmerisourceBergen Corporation (via                 7
     9
    10
         teleconference and text/video streaming):
              JACKSON KELLY PLLC
                                                                         8
              BY: SANDRA K. ZERRUSEN, ESQUIRE                            9
    11           skzerrusen@jacksonkelly.com
              50 South Main Street, Suite 201
                                                                        10
    12        Akron, Ohio 44308                                         11
              330-252-9060
    13                                                                  12
    14   On behalf of HBC (via teleconference and text/video
         streaming):
                                                                        13
    15                                                                  14
             MARCUS & SHAPIRA LLP
    16       BY: ELLY HELLER-TOIG, ESQUIRE
                                                                        15
                 ehtoig@marcus-shapira.com                              16
    17       One Oxford Center, 35th Floor
             301 Grant Street                                           17
    18       Pittsburgh, Pennsylvania 15219-6401
             412-338-3345
                                                                        18
    19                                                                  19
    20   On behalf of Walmart (via teleconference and
         text/video streaming):                                         20
    21                                                                  21
             JONES DAY
    22       BY: NICOLE LANGSTON, ESQUIRE                               22
    23
                nlangston@jonesday.com
             77 West Wacker Drive
                                                                        23
             Chicago, Illinois 60601                                    24
    24       312-782-3939


                                                               Page 3                                                Page 5
     1   On behalf of Prescription Supply, Inc.                          1        VIDEOTAPED DEPOSITION OF CANDACE HARBAUER
     2      FOX ROTHSCHILD LLP
            BY: JAMES C. CLARK, ESQUIRE                                  2             INDEX TO EXAMINATION
     3         jclark@foxrothschild.com
               STEPHAN A. CORNELL, ESQUIRE                               3       WITNESS                   PAGE
     4         scornell@foxrothschild.com                                4       CANDACE HARBAUER
                  (via teleconference and text/video
     5            streaming)                                             5         CROSS-EXAMINATION BY MR. REINS:     10
            2700 Kelly Road, Suite 300
     6      Warrington, Pennsylvania 18976-3624                          6
            330-305-6400
     7                                                                   7
     8   On behalf of Endo Pharmaceuticals, Inc.,                        8
         Endo Health Solutions, Inc., and Par Pharmaceutical
     9   Companies, Inc. (via teleconference and text/video              9
         streaming):
    10                                                                  10
             ARNOLD & PORTER KAYE SCHOLER, LLP
    11       BY: CAITLIN MARTINI MIKA, ESQUIRE
                                                                        11
                caitlin.mika@arnoldporter.com                           12
    12       70 West Madison Street, Suite 4200
             Chicago, Illinois 60602                                    13
    13       312-583-2300
    14                                                                  14
         On behalf of Johnson & Johnson and
    15   Janssen Pharmaceuticals:
                                                                        15
    16       TUCKER ELLIS LLP                                           16
             BY: JENNIFER L. STEINMETZ, ESQUIRE
    17          jennifer.steinmetz@tuckerellis.com                      17
             950 Main Avenue, Suite 1100
    18       Cleveland, Ohio 44113                                      18
             216-592-5000
    19
                                                                        19
    20   On behalf of McKesson (via teleconference and                  20
         text/video streaming):
    21        COVINGTON & BURLING LLP                                   21
              BY: GABRIEL FULMER, ESQUIRE
    22           gfulmer@cov.com                                        22
              One CityCenter
                                                                        23
    23        850 Tenth Street, NW
              Washington, DC 20001                                      24
    24        202-662-5110



                                                                                                2 (Pages 2 to 5)
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     1
     2
           VIDEOTAPED DEPOSITION OF CANDACE HARBAUER
                  INDEX TO EXHIBITS
                                                                       1       Fox Rothschild on behalf of
     3    PSI-HARBAUER DESCRIPTION                      PAGE           2       Prescription Supply.
     4    PSI-Harbauer 1 Document titled "Current     30
                   Employees," Bates-stamped                           3           THE VIDEOGRAPHER: Anyone on
     5             PSI0000145-147                                      4       the phone?
     6    PSI-Harbauer 2 Code of Federal Regulations, 52
                   21 C.F.R. 1301.74                                   5           MS. HELLER-TOIG: Elly
     7
          PSI-Harbauer 3 Document titled "Inventory   83               6       Heller-Toig from Marcus & Shapira
     8             Controls, Document Control
                   Number: WP-1, Effective
                                                                       7       for HBC Service Company. And I
     9             Date: June 2000," Bates-                            8       also e-mailed my appearance.
                   stamped PSI0000648-652
    10                                                                 9           MS. MIKA: Caitlin Mika from
          PSI-Harbauer 4 Document titled "Document     89
    11             Name: Controlled Substances,
                                                                      10       Arnold & Porter on behalf of Endo
                   Document Control Number:                           11       and Par entities.
    12             WP-2, Effective Date: June
                   2000," Bates-stamped                               12           MR. ELKINS: A.J. Elkins,
    13             PSI0000653-654
    14    PSI-Harbauer 5 Document titled "Document     89
                                                                      13       McHugh Fuller law firm, on behalf
                   Name: REMS DO NOT SHIP                             14       of the Plaintiffs.
    15             PROGRAM, Document Control
                   Number: WP-13, Effective                           15           MS. LANGSTON: Nicole
    16             Date: February 2011," Bates-
                   stamped PSI0000690-692                             16       Langston from Jones Day on behalf
    17
          PSI-Harbauer 6 Document titled "Maximum      100
                                                                      17       of Walmart.
    18             Monthly Quantity Prescription                      18           MR. FULMER: Gabriel Fulmer
                   Supply," dated 10/2/2008,
    19             Bates-stamped PSI0000280-285                       19       on behalf of Covington & Burling on
    20    PSI-Harbauer 7 Letter from Mr. Rannazzisi, 105              20       behalf of McKesson.
                   dated 9/27/2006, Bates-
    21             stamped CAH_MDL_PRIORPROD_                         21           MS. ZERRUSEN: And Sandy
                   DEA07_00837645-837648
    22                                                                22       Zerrusen from Jackson Kelly on
          PSI-Harbauer 8 Letter from Mr. Rannazzisi, 109
    23             dated 12/27/2007, Bates-
                                                                      23       behalf of AmerisourceBergen.
                   stamped CAH_MDL_PRIORPROD_                         24           MR. CORNELL: Stephan Cornell
    24             DEA12_00010980-10980


                                                             Page 7                                           Page 9
      1                      ---                                       1         from Fox Rothschild for
      2                PROCEEDINGS                                     2         Prescription Supply.
      3                      ---                                       3             THE VIDEOGRAPHER: The court
      4                 THE VIDEOGRAPHER: We are now                   4         reporter today is Carol Kirk and
      5             on the record. My name is Michael                  5         will now swear in the witness.
      6             Newell. I'm a videographer for                     6             (Witness sworn.)
      7             Golkow Litigation Services.                        7             MR. CLARK: Mr. Reins, before
      8             Today's date is February 19, 2019.                 8         we begin, I just want to put on the
      9             The time is 9:02 a.m.                              9         record what we discussed out in the
     10                 This video deposition is                      10         hallway a short time ago.
     11             being held in Perrysburg, Ohio in                 11             Ms. Harbauer has been out of
     12             the matter of National Prescription               12         work for the last ten days dealing
     13             Opiate Litigation. The deponent                   13         with some health issues related to
     14             today is Candace Harbauer.                        14         her asthma.
     15                 Will counsel please identify                  15             She has assured me that she'd
     16             themselves.                                       16         like to proceed today and is
     17                 MR. REINS: Lance Reins with                   17         confident to do so. I raise it
     18             McHugh Fuller here on behalf of the               18         just because we may need to take a
     19             Plaintiff.                                        19         few extra breaks so that she can do
     20                 MS. STEINMETZ: Jennifer                       20         a breathing treatment.
     21             Steinmetz from Tucker Ellis on                    21                  ---
     22             behalf of Janssen and Johnson &                   22               CANDACE HARBAUER
     23             Johnson.                                          23   being by me first duly sworn, as hereinafter
     24                 MR. CLARK: Jim Clark from                     24   certified, deposes and says as follows:


                                                                                         3 (Pages 6 to 9)
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                                               Page 10                                                 Page 12
      1              CROSS-EXAMINATION                        1   Supply?
      2   BY MR. REINS:                                       2        A. I'm a VP of administration and
      3         Q. Ms. Harbauer, as we discussed              3   also human resources and designated
      4   before we began, please let me know whenever        4   representative.
      5   that arises. You don't need to put yourself         5        Q. And Prescription Supply, Inc. also
      6   through any additional strain here today. So        6   goes by the acronym, I guess, PSI?
      7   just let us know, okay?                             7        A. Correct.
      8         A. Thank you.                                 8        Q. Okay. Tell me a little bit about
      9         Q. You're welcome.                            9   the company, if you don't mind, the historic
     10             Could I get you to introduce             10   background. Do you know when it was formed?
     11   yourself for the record, please.                   11        A. It was started in 1955 by my
     12         A. Candace Harbauer.                         12   grandfather and two of his siblings. Two of
     13         Q. And, Ms. Harbauer, have you been          13   them were pharmacists, and there was a need for
     14   through a deposition before?                       14   a regional pharmaceutical distributor. It has
     15         A. Never.                                    15   always been a family run, very small,
     16         Q. Okay. Your counsel has probably           16   independent company. We've grown through the
     17   advised you but just a couple ground rules         17   years. There are approximately 12 family
     18   before we begin. Obviously I'm going to be         18   members that work for us now.
     19   asking you some questions here today.              19            We -- because we're small, we have
     20             Please, because we have a court          20   a great communication base with one another and
     21   reporter taking everything down, please let me     21   an interworking relationship. We strive to --
     22   finish my question before you begin your answer,   22   service is our priority, to meet the customers'
     23   okay?                                              23   needs whenever possible and to maintain, you
     24             At the end of this there will be a       24   know, a positive, ethical stance.


                                               Page 11                                                 Page 13
      1   written record of what transpired today so we       1              The company is now run by my
      2   want to be able to have a clean question and a      2   mother and my uncle as corporate principals.
      3   clean answer, okay?                                 3          Q. And who would that be?
      4         A. Fine.                                      4          A. Thomas Schoen and Jacquelyn
      5         Q. For those same reasons, please             5   Harbauer.
      6   verbalize all your answers. No "uh-huhs,"           6          Q. Do you know when Mr. Schoen,
      7   "huh-uhs" or head nods. I may remind you, "Is       7   Thomas Schoen, took over?
      8   that a yes," "Is that a no," if you shake your      8              MR. CLARK: Objection to
      9   head, because we need a verbal response, okay?      9          form.
     10         A. Okay.                                     10          A. Precisely, no. He went through
     11         Q. Lastly, if you answer my question,        11   several positions before taking on president.
     12   I'm going to assume two things. One, you           12          Q. Understanding your answer about
     13   understood it, and, two, you're telling the        13   the company's overall business operations, can
     14   truth.                                             14   you kind of simplify it, if you would. What
     15             Is that fair?                            15   exactly do you do? Do you supply medications,
     16         A. Yes.                                      16   narcotics, things of that nature? Tell me a
     17         Q. If you don't know something or you        17   little bit in laymen's terms what you do.
     18   need me to rephrase a question, just say so,       18              MR. CLARK: Objection to
     19   okay?                                              19          form.
     20         A. Okay.                                     20          A. The company is a pharmaceutical
     21         Q. All right. Can you please tell us         21   wholesaler, primarily.
     22   what you do for a living?                          22          Q. And what does that mean?
     23         A. I work for Prescription Supply.           23          A. That we buy directly from the
     24         Q. What do you do for Prescription           24   manufacturer and sell to pharmacies or long-term


                                                                             4 (Pages 10 to 13)
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      1   care facilities. Our primary business is         1   states?
      2   independent pharmacies, retail.                  2              MR. CLARK: Objection to
      3         Q. And does that include the supply        3          form.
      4   of narcotics?                                    4          A. In my opinion, 30.
      5         A. Some.                                   5          Q. Okay. So when you say small
      6         Q. Which ones?                             6   family business, large customer base, though,
      7         A. I wouldn't -- couldn't tell you.        7   right?
      8         Q. All right. And you began with the       8              MR. CLARK: Objection. Form.
      9   company when?                                    9          A. Large -- can you define what you
     10         A. About 22, 23 years ago.                10   mean by "large" --
     11         Q. Has the company grown in that time     11          Q. That's okay.
     12   period?                                         12          A. -- because that's a comparative
     13         A. Yes.                                   13   statement.
     14         Q. How so?                                14          Q. Sure. That's fair.
     15         A. We've developed as -- with             15              How many employees do you have?
     16   technology, computers. All the legal            16          A. Approximately 80.
     17   regulations that have come up the pike. We've   17          Q. And you said you moved into a
     18   grown in size. Moved into -- built and moved    18   larger facility. What do you mean? How large
     19   into a new building.                            19   is your facility?
     20         Q. When you say "grown in size," does     20              MR. CLARK: Objection. Form.
     21   that include your customer base?                21          A. We are in a building we built
     22            MR. CLARK: Objection to                22   specifically -- well, Prescription Supply -- we
     23         form.                                     23   rent a building that was designed for us, and
     24         Q. Let me just ask it this way: How       24   it's, I believe, 30,000 square feet.

                                            Page 15                                                Page 17
      1   have you grown in size?                          1         Q. You said your sales have
      2         A. Number of employees, increased          2   increased. How so?
      3   sales, and customer base.                        3            MR. CLARK: Objection to
      4         Q. Let's work in reverse. Customer         4         form.
      5   base, do you know how many customers you have    5         A. Just based on the fact that we've
      6   presently?                                       6   been able to increase our employee base and have
      7         A. No.                                     7   added additional state licenses.
      8         Q. Thousands or --                         8         Q. Do you know since 1996 how much
      9             MR. CLARK: Objection. Form.            9   your sales have increased?
     10         Q. If you know.                           10         A. No. I couldn't tell you.
     11         A. My guess would be -- I really          11         Q. Do you know who would be most
     12   can't give you a definitive answer. We might    12   knowledgeable about that?
     13   have two or three thousand customers. They're   13         A. Probably the corporate president.
     14   all not active.                                 14         Q. You just know they have increased?
     15         Q. What geographical area are they        15         A. I -- yes.
     16   spread throughout?                              16         Q. But you don't know by what grade
     17             MR. CLARK: Objection to               17   percentage?
     18         form.                                     18         A. No.
     19         A. We are in -- predominantly a           19         Q. Tell me a little bit about when
     20   regional supplier, but we do service many       20   you started.
     21   states.                                         21            MR. CLARK: Objection to
     22         Q. Do you know which ones?                22         form.
     23         A. Not offhand all of them, no.           23         A. I was actually with the company
     24         Q. Do you know ballpark how many          24   for a short time when I graduated from college


                                                                          5 (Pages 14 to 17)
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      1   before I went into my career choice at that         1   president is Thomas Schoen, and it also says "DR
      2   point, which was education, and did warehouse       2   supervisor."
      3   work, learning the business and did some            3            Do you know what that stands for?
      4   accounting work. Then after many years, came        4         A. Designated representative
      5   back and started serving as credit manager,         5   supervisor. So he is my supervisor.
      6   human resources. We are a small company and,        6         Q. Okay. Is he everyone's
      7   therefore, we wear many hats and develop into       7   supervisor?
      8   positions.                                          8         A. Yes.
      9        Q. When you say "small company," do            9         Q. Okay. There's no DR supervisor
     10   you know how you rank in the industry, if you      10   he's subservient to I'm guessing?
     11   know?                                              11            MR. CLARK: Objection to
     12            MR. CLARK: Objection to                   12         form.
     13        form.                                         13         A. Correct.
     14        A. I really don't have a clue. I              14         Q. Now, underneath that is
     15   know we are the smallest in Ohio.                  15   secretary-treasurer. And who would that be?
     16        Q. And do you know what your average          16         A. Jacquelyn Harbauer.
     17   sales are in a given year?                         17         Q. All right. And what relation
     18            MR. CLARK: Objection. Form.               18   would that be to you?
     19        A. No.                                        19         A. My mother.
     20        Q. Do you know if they're in the              20         Q. Gotcha. And then that would be
     21   millions?                                          21   your, obviously, uncle's sister?
     22            MR. CLARK: Same objection.                22         A. Correct.
     23        A. I -- I don't know.                         23         Q. All right. And then we have VP of
     24        Q. You don't see the books?                   24   sales, Christopher Schoen?


                                               Page 19                                                Page 21
      1          A. I don't review the books, no.             1         A. Correct.
      2          Q. Fair enough.                              2         Q. What relation?
      3              All right. I do want to talk to          3         A. Cousin.
      4   you -- I know you said it's a family business.      4         Q. Okay. And who is he the son of?
      5   I want to kind of talk to you about the cast of     5         A. Tom.
      6   characters, the folks that work in the business,    6         Q. Okay. And do you know what -- and
      7   okay?                                               7   forgive me. I skipped your mom. Do you know
      8              So we're going to look at a              8   what your mom does as a secretary and treasurer?
      9   document. Specifically this is PSI-1010.            9            MR. CLARK: Objection to
     10          A. Okay.                                    10         form.
     11              MR. REINS: I have a hard                11         A. I -- I know she is overall
     12          copy if you want one.                       12   responsible for board minutes, you know,
     13              MR. CLARK: I appreciate it.             13   financial, overseeing the accounting department,
     14              MR. REINS: So, Zach, if you             14   controller, those types of things.
     15          could kind of zoom in at the top            15            (Reporter clarification.)
     16          and we'll work our way down. All            16         A. Controller. Sorry. Controller.
     17          right. Perfect.                             17   And the licensing, regulatory. She's over
     18   BY MR. REINS:                                      18   myself as well.
     19          Q. All right. So we're just learning        19   BY MR. REINS:
     20   a little bit about your company today, so          20         Q. Okay. And so the -- and I'm
     21   obviously we've received some items in discovery   21   sorry. When you said earlier you came back
     22   kind of telling us who's who and maybe you can     22   after several years, what year was that?
     23   help elaborate on that.                            23         A. That I came back?
     24              Obviously you've mentioned the          24         Q. Yes, ma'am.


                                                                             6 (Pages 18 to 21)
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      1         A. I'm guessing it was 1996, '97.             1         A. Oh, longer than that.
      2         Q. Okay. Probably best to finish up           2         Q. Okay.
      3   your time. So when you first came back, what        3         A. I -- I know that -- as I said, as
      4   was your position?                                  4   the regulatory environments increased, so did
      5         A. Credit manager.                            5   the development of the position, licensing and
      6         Q. What did that mean?                        6   all of that.
      7         A. I worked with collections,                 7         Q. So -- and you might not be able to
      8   accounts receivable and the controller.             8   answer this. Before 2010 or after, if you know?
      9         Q. What's your educational                    9             MR. CLARK: Objection to
     10   background? What was your degree in?               10         form.
     11         A. I have a Master's of Science in           11         A. I couldn't say. It would be pure
     12   administration, educational administration, and    12   guess.
     13   a bachelor of education.                           13         Q. All right. Do you know how long
     14         Q. Gotcha. And so when you finished          14   after you left the credit manager position you
     15   that first position, you transitioned into a new   15   got into regulatory services?
     16   one obviously?                                     16             MR. CLARK: Objection to
     17              MR. CLARK: Objection to                 17         form.
     18         form.                                        18         Q. Months, years?
     19         A. When I finished being credit              19         A. I --
     20   manager?                                           20             MR. CLARK: Same objection.
     21         Q. Yes, ma'am.                               21             Go ahead.
     22         A. I transitioned, yes, into more of         22         A. When I transitioned from one, I
     23   the vice president and was assisting the           23   had been out ill for a period of time, so when I
     24   secretary/treasurer with licensing,                24   came back, the credit management position had

                                              Page 23                                                  Page 25
      1   developmental for our VAWD certifications. As       1   been filled by another personnel, so I began to
      2   the regulatory requirements have blossomed in       2   work more closely with the corporate
      3   the last 20 years, the need to have a person        3   secretary/treasurer and develop that.
      4   directly involved with that, is what I came         4         Q. So I'm going to say this as
      5   into.                                               5   carefully as I can. I do not want to know
      6             I also do human resources, some --        6   anything about your health condition whatsoever.
      7   it's delegated responsibilities. Primarily I        7   But given that you had a health issue, does
      8   deal with job descriptions and training.            8   that -- do you know when that was, without
      9         Q. When you talk about your                   9   revealing anything about your health condition?
     10   regulatory position, is that that you are an       10             MR. CLARK: Objection to
     11   assistant, I guess, to your mother in that role?   11         form.
     12         A. Correct.                                  12         A. I'm guessing seven years ago.
     13             MR. CLARK: Objection to                  13         Q. Okay.
     14         form.                                        14         A. But it -- in my -- that's to the
     15         Q. When did you begin doing that?            15   best of my recollection.
     16         A. When did I begin doing that?              16         Q. And I appreciate that.
     17         Q. Yes, ma'am.                               17             And I guess this would be a good
     18             MR. CLARK: Objection to                  18   time to -- when you start -- when you got
     19         form.                                        19   transitioned into that role, can you tell me
     20         Q. You said as time went on --               20   specifically what your duties and
     21         A. I -- I honestly don't remember            21   responsibilities were?
     22   when.                                              22             MR. CLARK: Objection to
     23         Q. Would it be longer than two, three        23         form.
     24   years ago or --                                    24         A. It began with getting our VAWD


                                                                              7 (Pages 22 to 25)
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      1   certification.                                     1        Q. Okay. That's wonderful.
      2         Q. Your what? I'm sorry?                     2             MR. CLARK: Before you ask
      3         A. VAWD, verified authorized                 3        the next question, did we lose
      4   wholesale distributor, verification through the    4        power here?
      5   National Association of Boards of Pharmacy.        5             THE WITNESS: I have no
      6         Q. What did that certification allow         6        screen.
      7   you to do?                                         7             MR. REINS: I just hadn't
      8         A. To sell in multiple states as that        8        talked about it in a while.
      9   is a requirement for licensure.                    9             MR. CLARK: I want to make
     10                                                     10        sure we're up and running.
     11                                                     11             MR. REINS: The power is
     12                                                     12        still running.
     13                                                     13             MR. CLARK: Okay.
     14                                                     14   BY MR. REINS:
     15                                                     15        Q. All right. So after that, you
     16                                                     16   helped in that process, what other regulatory
     17                                                     17   duties and responsibilities did you have, if
     18         Q. So I'm going to ask you this             18   any?
     19   question, but I want you to understand I know     19             MR. CLARK: Objection to
     20   dates and times may be difficult for you. Just    20        form.
     21   do the best you can, okay?                        21        A. I had responsibility to keep a
     22             Do you know when that                   22   knowledge base, if possible, of regulatory
     23   certification was ultimately approved?            23   requirements, working with the licensures, so
     24             MR. CLARK: Objection to                 24   ensuring that we are compliant with all the

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      1         form.                                        1   regulations for each license, including DEA,
      2         A. I believe nine or ten years ago,          2   being aware of governmental changes.
      3   to the best of my recollection.                    3        Q. All right. Any other duties and
      4         Q. Okay. So when you came back after         4   responsibilities, other than what we've
      5   your health issue, was it already approved?        5   discussed so far, when you transitioned to your
      6         A. No.                                       6   new role?
      7         Q. Okay. I'm not really a math guy,          7            MR. CLARK: Objection to
      8   but I think we approximated that into about        8        form.
      9   seven years?                                       9        Q. I think you touched on the human
     10         A. Seven years? Then I would have           10   resource aspect as well, so I didn't know if
     11   misspoken.                                        11   there was anything else.
     12         Q. That's okay.                             12        A. Those are my primary
     13         A. I -- again, it's hard to recall.         13   responsibilities.
     14         Q. Those are not points I'll be             14        Q. Okay. And you've held those
     15   scoring today on math, so I promise you. So       15   consistently since the best you've approximated
     16   we're just trying -- that actually is a helpful   16   for us here today?
     17   process. So if we know that it was about ten or   17        A. Yes.
     18   eleven years ago, do you know how long you        18        Q. Okay.
     19   worked on it before it was approved?              19            MR. CLARK: Objection to
     20             MR. CLARK: Objection to                 20        form.
     21         form.                                       21            Just give me a second to get
     22         A. I know the process was begun             22        my objection on --
     23   before I came back. The entire length of time,    23            THE WITNESS: Yeah. I'm
     24   maybe a year.                                     24        sorry.


                                                                            8 (Pages 26 to 29)
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      1           MR. CLARK: No problem.                       1   anybody else that's part of the regulatory
      2       You're doing fine.                               2   division in the time period we've discussed?
      3               ---                                      3             MR. CLARK: Objection to
      4       (PSI-Harbauer Exhibit 1 marked.)                 4        form. Misstates the testimony.
      5               ---                                      5        A. I think that many of our personnel
      6    BY MR. REINS:                                       6   have to be aware of the rules and regulations.
      7                                                        7        Q. Sure. But how many are actually
      8                                                        8   designated in the regulatory department, besides
      9                                                        9   you and -- it is you and your mom, right?
     10                                                       10        A. My --
     11                                                       11             MR. CLARK: Same objection.
     12                                                       12        Q. You can answer.
     13                                                       13        A. Tom also oversees so, you know.
     14                                                       14        Q. Okay. Anyone else?
     15                                                       15        A. No.
     16                                                       16        Q. All right. And here's where you
     17                                                       17   can educate me, because VP-IS Kirk Harbauer --
     18                                                       18        A. Correct.
     19                                                       19        Q. -- he is your --
     20                                                       20        A. Brother.
     21                                                       21        Q. -- brother. I see a lot of
     22                                                       22   report -- his name is involved in different
     23                                                       23   reporting and e-mails and letters and things.
     24                                                       24   Is he not involved in the regulatory process?


                                                                                                        Page 33
      1                                                        1             MR. CLARK: Objection to
      2                                                        2         form.
      3                                                        3         A. His -- he carries -- he ensures
      4          Q. When you look at all of that, the          4   that the necessary reporting is sent, for
      5    telemarketing staff, the customer service staff,    5   example, ARCOS reporting, or there are states
      6    Chris, any of the other people that work with       6   that require we send in sales history of
      7    him, Mr. Schoen -- I say Chris because he's --      7   controlled substances, so the computer
      8    there's several Mr. Schoens. Do you know how        8   department -- well, Kirk. I should rephrase
      9    many people that would be, approximately?           9   that. Kirk will develop the necessary program
     10              MR. CLARK: Objection to                  10   to do that. And so we say that he is involved
     11          form.                                        11   because of that purpose.
     12          A. My guess would be eight to ten.           12         Q. But he actually just completes the
     13          Q. And then you've got the one and a         13   reporting --
     14    half person? You got --                            14         A. Technology.
     15          A. He's -- the half person is a              15             MR. CLARK: Hold on. Let him
     16    part-time buyer --                                 16         finish his question.
     17          Q. Okay.                                     17         A. I apologize.
     18          A. -- and a part-time sales rep where        18         Q. No, that's okay. I think I might
     19    he would visit Michigan stores. And then we        19   have got it out there.
     20    have a gentleman who visits our Ohio stores.       20             He's responsible for executing the
     21          Q. That's a good definition of half a        21   reporting necessary pursuant to the regulations,
     22    person. I got it.                                  22   safety rules?
     23              We were talking about the                23             MR. CLARK: Objection to
     24    regulatory. There's you, your mom. Is there        24         form.


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      1             Go ahead.                                  1            MR. CLARK: I just want to
      2         A. He gets the reports out.                    2        object to the extent it calls for a
      3         Q. Okay. Who has decided or who has            3        legal conclusion.
      4    made the decision as to how to report?              4            MR. REINS: And I will
      5             MR. CLARK: Objection to                    5        recognize, because I read some of
      6         form.                                          6        your prior depos, that that is well
      7         Q. What to report, how to report.              7        contemplated in any objections to
      8             MR. CLARK: Same objection.                 8        form.
      9         A. It depends on the rules and                 9            MR. CLARK: Okay.
     10    regulations.                                       10            MR. REINS: But you are
     11         Q. So let's start with that then.             11        welcome to state your objections as
     12    What rules and regulations are you obligated to    12        you see fit.
     13    follow as the regulatory -- what position is it,   13        A. Would you repeat the question,
     14    regulatory advisor?                                14   please?
     15             MR. CLARK: Objection to                   15        Q. Of course I will.
     16         form.                                         16            MR. CLARK: Just to be clear,
     17         A. My title is VP admin and human             17        I have not been involved in any
     18    resources and DR, designated representative.       18        other depositions.
     19         Q. So in order to comply with the             19            MR. REINS: Oh, really? Oh,
     20    rules, you need to know what they are, right?      20        okay. I've seen that objection
     21         A. Are.                                       21        several times.
     22         Q. So what rules are you required to          22   BY MR. REINS:
     23    follow?                                            23        Q. I think the question that was
     24         A. All --                                     24   posed to you is: Sitting here today, what do

                                                Page 35                                                 Page 37
      1               MR. CLARK: Objection to                  1   you believe the Controlled Substances Act
      2           form.                                        2   obligates your company to do or not to do?
      3           A. All federal. With the state,              3            MR. CLARK: Same objection.
      4    local.                                              4        A. I see the purpose of the act is to
      5           Q. Have you reviewed all of those            5   regulate the flow of pharmaceuticals throughout
      6    rules and regulations?                              6   the industry. There are many requirements in
      7               MR. CLARK: Objection to                  7   monitoring, licensing, regulatory -- monitoring,
      8           form.                                        8   licensing, reporting.
      9           Q. The ones that apply to your               9        Q. Do you know why these rules and
     10    business, of course.                               10   regulations have come into play?
     11           A. Have I reviewed them all?                11            MR. CLARK: Objection to
     12           Q. Yes.                                     12        form.
     13           A. Honestly, I couldn't believe that        13        A. I couldn't state the intent of
     14    it -- that was even possible. I would say no.      14   them, but I -- I think it's to regulate the
     15    I will say that I am aware of the requirements     15   industry.
     16    of many things.                                    16        Q. Do you know why the industry needs
     17           Q. What are you -- are you aware of         17   to be regulated?
     18    the Controlled Substances Act?                     18            MR. CLARK: Same objection.
     19           A. Yes.                                     19        A. As with most industries, there is
     20           Q. What do you believe that obligates       20   always illegal activity involved, and so by
     21    you to do or not do?                               21   regulating, I see it as an attempt to try to
     22               MR. CLARK: Objection to                 22   keep things in proper channels.
     23           form.                                       23        Q. You understand that we're in the
     24           A. I see it as --                           24   midst of an opioid crisis?


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      1             MR. CLARK: Objection to                   1   where I would get my information.
      2          form.                                        2         Q. Your company has not had meetings
      3          Q. Correct?                                  3   on the addictive nature of a product that you're
      4          A. I agree from what I have read and         4   distributing?
      5    heard on the news, that I believe there is an      5             MR. CLARK: Objection to
      6    opioid crisis.                                     6         form. Argumentative.
      7          Q. You understand and recognize it's         7         A. To my knowledge, we have not.
      8    affecting all races, all genders, in this          8         Q. Okay. I think we're on a new
      9    country, correct?                                  9   title now. VP HR manager DR. Have we
     10             MR. CLARK: Objection to                  10   covered -- I think we have -- all the duties and
     11          form.                                       11   responsibilities for which you hold?
     12          A. It affects many people.                  12         A. Yes.
     13          Q. Many communities in this country,        13         Q. All right. You're also vendor
     14    correct?                                          14   verification. What does that mean?
     15             MR. CLARK: Same objection.               15         A. Part of the requirements of VAWD
     16          A. Yes.                                     16   are to ensure that who we are purchasing from
     17          Q. And it's found to be, some of the        17   and selling to are properly licensed, inspected,
     18    drugs, specifically oxycodone, have been abused   18   and so I do verify all licenses of potential
     19    heavily in this nation, correct?                  19   vendors and maintain records on those.
     20             MR. CLARK: Objection to                  20         Q. Assistant to the president, James
     21          form.                                       21   Schoen. What relation is he to the president?
     22          A. I can't -- that's what the news          22         A. Son.
     23    says.                                             23         Q. How does he assist his dad?
     24          Q. Do you not agree with that?              24             MR. CLARK: Objection to

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      1             MR. CLARK: Objection to                   1         form.
      2         form.                                         2         A. I really couldn't tell you what he
      3         A. I can't disagree or agree. I have          3   does in that respect.
      4   no personal knowledge of it.                        4         Q. Okay. Does he get a paycheck?
      5         Q. Sitting here today, as someone             5             MR. CLARK: Objection to
      6   who's involved in the regulatory safety rules       6         form.
      7   and employing those in your company for PSI, you    7             MR. REINS: Withdraw.
      8   don't know one way or another whether we're --      8   BY MR. REINS:
      9   oxycodone is addictive?                             9         Q. Next we have -- and I'm not quite
     10             MR. CLARK: Objection to                  10   sure what that position is, Robert Schoen, what
     11         form.                                        11   relation?
     12         A. Do I know if oxycodone is                 12         A. That's also a son of Tom.
     13   addictive, is that what you just stated?           13         Q. And what does that stand for?
     14         Q. Yes. Based on all the literature,         14         A. Warehouse manager.
     15   publications, congressional hearings, everything   15         Q. Gotcha. And what are his duties
     16   that's available to you, do you know that?         16   and responsibilities?
     17             MR. CLARK: Objection to                  17         A. To oversee the warehouse.
     18         form.                                        18         Q. The warehouse is where all the --
     19         A. I have been told that OxyContin is        19         A. Product.
     20   addictive, yes.                                    20         Q. Is kept?
     21         Q. Who told you that?                        21             So oversee it. Are there policies
     22             MR. CLARK: Objection to                  22   and procedures that govern the warehouse, if you
     23         form.                                        23   know?
     24         A. That's from the news and -- that's        24         A. Yes.


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      1         Q. Okay. As part of your position,           1   of narcotics, who would that be?
      2    are you responsible for implementing and          2          A. That would also include Jim
      3    revising policies and procedures within your      3   Schoen, Jim Schoen, the --
      4    company?                                          4          Q. The assistant?
      5             MR. CLARK: Objection to                  5          A. He is the assistant, but he is --
      6         form.                                        6   he also is the controlled substance handler,
      7         A. I work with the development of the        7   Schedule II.
      8    policy in writing, along with Mr. Schoen, Tom     8          Q. What does that -- we tried to talk
      9    Schoen, to ensure that our policies are           9   about his job a little bit ago, but I think --
     10    compliant to rules and regs, and that the        10          A. Well --
     11    procedures can best meet those.                  11              MR. CLARK: Let him finish
     12         Q. It's you and Mr. Schoen, Thomas          12          his question.
     13    Schoen, that do that --                          13          Q. Yeah. That's okay. That's how
     14         A. And --                                   14   it's going to work. Something will come to you.
     15             MR. CLARK: Hold on a second.            15   It's not a gotcha game. So it's great when that
     16         Let him finish the question.                16   happens.
     17         Q. Sorry. That's okay. I was done.          17              So tell me -- now that we've
     18    That's okay.                                     18   discussed that, tell me what exactly he does in
     19             MR. CLARK: Objection to                 19   that position based on what you just described.
     20         form.                                       20              MR. CLARK: Objection to
     21             Can you read back the                   21          form.
     22         question --                                 22          A. Jim is the one who monitors and
     23         A. Repeat that. I'm sorry.                  23   fills controlled substance orders. He's
     24         Q. No. You don't have to be. And            24   responsible for knowing the customer,

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      1   remember my standing offer for breaks. Whenever    1   maintaining education within the field.
      2   you get to that point, okay?                       2         Q. So he would participate in the
      3        A. I'm getting close.                         3   development and/or revision of those policies
      4        Q. Okay. We'll just finish this part          4   that touched those issues?
      5   up, and then we'll go --                           5         A. Yes.
      6        A. Thank you.                                 6            MR. CLARK: Objection to
      7        Q. -- unless you just give me the             7         form.
      8   look, okay?                                        8         Q. Would he be the ultimate one to,
      9             I believe the question was, in           9   according to the federal regulations, stop a
     10   regards to the development and revision of        10   shipment if it's "suspicious"?
     11   policies and procedures specifically, who was     11            MR. CLARK: Objection to
     12   involved -- and I thought I understood you to     12         form.
     13   say yourself and Thomas Schoen --                 13         Q. If you know.
     14        A. Okay.                                     14         A. He would be part of the process.
     15        Q. -- but I may be incorrect.                15            MR. REINS: Take a break?
     16             MR. CLARK: Objection to                 16         You want to take a break?
     17        form.                                        17            MR. CLARK: Yes.
     18        A. And it would be all relevant              18            THE WITNESS: Could I please?
     19   personnel. If it was a warehouse procedure,       19            MR. REINS: Yeah, of course
     20   warehouse manager. If it is sales or              20         you can.
     21   purchasing, it -- relevant personnel.             21            THE WITNESS: Thank you.
     22        Q. How about when we're talking about        22            MR. REINS: Yes, ma'am.
     23   the Controlled Substances Act or the federal      23            THE VIDEOGRAPHER: We're
     24   regulations regarding shipping and/or diversion   24         going off the record at 9:40 a.m.


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      1              (Recess taken.)                           1   primary. Or the telemarketer or salesperson can
      2              THE VIDEOGRAPHER: We're back              2   enter the order directly into the computer.
      3          on the record at 9:50.                        3          Q. Where does it go from there?
      4    BY MR. REINS:                                       4             MR. CLARK: Objection to
      5          Q. All right. Going back and looking          5          form.
      6    at the exhibit here. I think we -- we have          6          A. It's either held or it's released
      7    covered the warehouse manager, Mr. Robert           7   to a pick slip.
      8    Schoen. The next two I think are pretty             8          Q. Tell me -- a pink slip I think.
      9    self-explanatory.                                   9          A. Pick.
     10              Director of purchasing, what does        10             MR. CLARK: Pick.
     11    that mean?                                         11          Q. Pick slip. What is a pick slip?
     12          A. Our primary buyer.                        12          A. We are a manual wholesaler, so
     13          Q. Okay. Can you explain?                    13   it's a piece of paper that has the products
     14          A. John Cromly buys many of our lines        14   listed for our pullers to go to the shelves and
     15    of -- from the manufacturers and making sure we    15   get.
     16    have product.                                      16          Q. Okay. So it comes in -- so it
     17          Q. How does he do that, if you know?         17   would come through -- if they did it on the
     18              MR. CLARK: Objection to                  18   website, it would go -- so how would it get to
     19          form.                                        19   the pullers?
     20          A. I know that he places -- you know,        20             MR. CLARK: Objection to
     21    he looks at usage and he places the orders.        21          form.
     22          Q. Okay. How many set of eyes do you         22          A. If the order -- if there's no
     23    think in the company looks at an order before it   23   reason to stop it, the order would be translated
     24    gets filled?                                       24   to a pick slip, piece of -- physical piece of


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      1              MR. CLARK: Objection to                   1   paper, and the pullers take the paper with a
      2           form.                                        2   cart and go and pull the product.
      3           A. I couldn't say. It depends on how         3         Q. Who is the one that makes the
      4    the order comes in.                                 4   decision whether to stop it?
      5           Q. Sure.                                     5             MR. CLARK: Objection to
      6           A. It -- I couldn't say.                     6         form.
      7           Q. Multiple folks, fair to say?              7
      8              MR. CLARK: Objection to                   8
      9           form.                                        9
     10           A. A few will see it. I mean, the --        10
     11    if it comes in via computer, it can be held, it    11
     12    can not be held. The person who pulls it sees      12
     13    the order. The person who checks it sees the       13
     14    order.                                             14
     15           Q. So if you get it on a computer, is       15
     16    it e-mailed? How do you get the order on a         16
     17    computer?                                          17
     18              MR. CLARK: Objection to                  18
     19           form.                                       19
     20           Q. I'll rephrase.                           20
     21              You mentioned computer. You might        21
     22    get an order. Please tell me how that works.       22
     23           A. EDI. We have a website. They can         23
     24    buy directly on the website. That's our            24


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      1                                              1             MR. CLARK: Good job.
      2                                              2             MR. REINS: Yeah.
      3                                              3   BY MR. REINS:
      4                                              4         Q. All right. So before I leave you
      5                                              5   here today -- this is probably not going to
      6                                              6   break your heart -- those would be the better
      7                                              7   folks to ask about the threshold limits and the
      8                                              8   criteria?
      9                                              9         A. In my opinion, yes.
     10                                             10         Q. Fair.
     11                                             11             Let's talk about the other things,
     12                                             12   though, the unusual size, unusual frequency.
     13                                             13   And probably not a bad time, because that
     14                                             14   language sounds kind of familiar for me -- to
     15                                             15   me -- to pull up PSI-103.
     16                                             16             This look familiar?
     17                                             17             MR. CLARK: Objection to
     18                                             18         form.
     19                                             19                  ---
     20                                             20         (PSI-Harbauer Exhibit 2 marked.)
     21                                             21                  ---
     22                                             22   BY MR. REINS:
     23                                             23         Q. So this is going to be -- let me
     24                                             24   withdraw that.

                                                                                               Page 53
      1                                              1             Ma'am, we're looking now at -- and
      2                                              2   this will be Plaintiff's Exhibit Number 2 to the
      3                                              3   deposition. This is the Code of Federal
      4                                              4   Regulations, which you identified earlier,
      5                                              5   Subsection 1301.74, specifically Subsection (b).
      6                                              6             And we'll be talking about the
      7                                              7   last sentence there, "Suspicious orders include
      8                                              8   orders of unusual size, orders deviating
      9                                              9   substantially from a normal pattern, and orders
     10                                             10   of unusual frequency," kind of the language you
     11                                             11   just used, if not identical, right?
     12                                             12             MR. CLARK: Objection to
     13                                             13         form.
     14                                             14         A. Similar language.
     15                                             15         Q. Fair.
     16                                             16
     17                                             17
     18                                             18
     19       Q. No. Don't be.                      19
     20           MR. CLARK: You've been doing      20
     21       well so far.                          21
     22           MR. REINS: Yeah. I mean,          22
     23       that's an amazingly long stretch      23
     24       for a rookie.                         24


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      1                                                        1   type of mathematical formula that would trigger
      2                                                        2   a review, if you know?
      3                                                        3             MR. CLARK: Objection to
      4                                                        4          form.
      5                                                        5          A. I don't know.
      6                                                        6          Q. Okay. Would that be a Jim
      7                                                        7   question?
      8                                                        8          A. Probably.
      9                                                        9          Q. Okay.
     10                                                       10          A. Or Kirk.
     11                                                       11          Q. Or Kirk.
     12                                                       12             And the follow-up to that question
     13                                                       13   is, if you know, do you have to exceed the
     14                                                       14   threshold in order for this review to take
     15                                                       15   place?
     16                                                       16             MR. CLARK: Objection to
     17                                                       17          form.
     18                                                       18          Q. If you know.
     19                                                       19          A. I don't know.
     20                                                       20          Q. Okay. Going back now to what is
     21                                                       21   Exhibit 1, which is PSI-1010, and it's actually
     22                                                       22   going to be the third page of that document.
     23                                                       23             So now we're looking at a -- do
     24                                                       24   you know what this is, let me just say?


                                               Page 55                                                 Page 57
      1          Q. And that's two really good points.         1         A. Yes.
      2    Let me start with the first one. The first,         2         Q. What is it?
      3    does Jim see every order?                           3         A. It's an organizational chart of
      4          A. Yes.                                       4   the company.
      5          Q. Okay. The due diligence that you           5         Q. Yes, ma'am. And so we've got at
      6    spoke to me about, because your uncle had made      6   the top the board of directors, which is your
      7    reference that you might be someone that kind of    7   uncle and your mother; is that correct?
      8    is the record keeper or keeping of certain          8         A. Correct.
      9    documents. Are there documents to reflect the       9         Q. Are they the only two board
     10    due diligence was actually done?                   10   members?
     11              MR. CLARK: Objection to                  11         A. They're the officers of the
     12          form.                                        12   company and the board members.
     13          A. The controlled substance                  13         Q. Okay. Are there any other board
     14    questionnaire is there. I don't do the actual      14   members, if you know?
     15    in-depth investigation. That's Jim Schoen, and     15         A. Not to my knowledge.
     16    so you would have to ask him.                      16         Q. Okay.
     17          Q. And that's fair. You'll never             17             MR. CLARK: Lance, before you
     18    hurt my feelings if you say that. Don't abuse      18         go on --
     19    it, though, just because you want to leave here    19             MR. REINS: Sure.
     20    today.                                             20             MR. CLARK: -- can I ask a
     21              The -- understanding everything          21         housekeeping question?
     22    you just said, is there not a trigger in the       22             MR. REINS: Yeah.
     23    system, if you know, that if there is a certain    23             MR. CLARK: The document has
     24    percentage of an increase in an order or certain   24         two different Bates numbers and


                                                                            15 (Pages 54 to 57)
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      1          you're referring to the one up top.           1            MR. CLARK: Same objection.
      2              MR. REINS: I am.                          2         A. You have to categorize, so that's
      3              MR. CLARK: I'm not sure                   3   how they broke it down.
      4          where that comes from.                        4         Q. You do report directly to your
      5              MR. REINS: Yeah. So we have               5   mother?
      6          internal numbers. I'm happy to use            6         A. And to Tom.
      7          the other one. I can identify it              7         Q. And to Tom. Okay. And then
      8          for Zach, and then we can use the             8   Mr. Buck we've kind of talked about -- have we
      9          other one for the record as well.             9   talked about Mr. Buck's position? Controller.
     10              MR. CLARK: If we can just                10   No, I don't think we did.
     11          clarify, just so if we're looking            11            What's his position?
     12          back at exhibits --                          12         A. He oversees the accounting
     13              MR. REINS: Absolutely.                   13   department and controller AP.
     14              MR. CLARK: -- I'll know                  14         Q. Okay. All right. Let me just
     15          we'll have the exhibits.                     15   look and see if there's anything else. I think
     16              MR. REINS: So to be clear,               16   we've talked about the other folks for the most
     17          those are your Bates numbers on the          17   part.
     18          bottom, correct?                             18            Order checker, what do those folks
     19              MR. CLARK: Correct.                      19   do?
     20              MR. REINS: So Exhibit No. 1              20            MR. CLARK: Objection to
     21          is Bates numbered PSI-145 through            21         form.
     22          147. We're looking at 147 right              22         Q. Do you see them there in the
     23          now.                                         23   middle?
     24              MR. CLARK: Thank you.                    24         A. When an order has been manually

                                               Page 59                                                 Page 61
      1              MR. REINS: Yeah, of course.               1   pulled, it's sent down the run.
      2    BY MR. REINS:                                       2             (Reporter clarification.)
      3          Q. And then obviously underneath              3        A. The pick slip is scanned into the
      4    that -- and we're not going over the things         4   computer with a bar code, and then each product
      5    we've already established, but under Mr. Schoen,    5   bar code is scanned to verify accuracy of the
      6    Thomas Schoen, that is, there are several           6   order fulfillment.
      7    positions, and then I think you did this -- it      7   BY MR. REINS:
      8    was helpful. You've already kind of covered         8        Q. Got it.
      9    this, which is, you're on your -- and I don't       9             Fleet manager?
     10    mean this lightly. I mean it's your mother,        10        A. We deliver locally with our own
     11    Ms. Harbauer's side of the chart; is that right?   11   set of cars. He's responsible for overseeing
     12          A. Correct.                                  12   vehicles.
     13          Q. And what do we call -- that right         13        Q. Okay. The other states, how do
     14    side of the chart where you're under and           14   you get the drugs there?
     15    Mr. Buck is under, is this more the regulatory     15             MR. CLARK: Objection to
     16    side then?                                         16        form.
     17              MR. CLARK: Objection to                  17        Q. The other states, how do you get
     18          form.                                        18   the products there? I'm sorry.
     19          Q. Or you could characterize it some         19        A. Common carrier.
     20    other way if it's more appropriate.                20             MR. CLARK: Same objection.
     21          A. It really isn't the regulatory            21             Go ahead.
     22    side. It has to do more with secretarial and       22        A. Common carrier.
     23    treasurer.                                         23        Q. Okay. All right. Thank you. I
     24          Q. Chain of command, right, I guess?         24   think we're done with this one. I'll hand these


                                                                            16 (Pages 58 to 61)
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      1    over so I don't misplace them.                     1
      2             We did take your uncle's                  2
      3    deposition. He was actually specifically           3
      4    delegated -- designated as a 30(b)                 4
      5    representative to speak on behalf of the           5
      6    company. I'd like to look at, if we could, from    6
      7    that deposition, PSI-1006, page 66.                7
      8             Starting at line 11. His                  8
      9    testimony was -- and going to line 21. Yes.        9
     10                                                      10
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      9                                                       9         Q. Would you be -- I get one shot
     10                                                      10   with you. So should I -- would he be more
     11                                                      11   appropriate to ask than yourself, based on what
     12                                                      12   you've told me already?
     13                                                      13         A. As I don't -- I do not personally
     14                                                      14   deal with orders.
     15                                                      15         Q. And that's fair. I hope you
     16                                                      16   understand I just have to -- if I don't ask you
     17                                                      17   a question, I have to establish why I didn't.
     18                                                      18   So ...
     19                                                      19            Now, sitting here today, we'll
     20                                                      20   look at the same deposition, page 150, starting
     21                                                      21   on line 11 going to line 17. Again, this is
     22                                                      22   Mr. Schoen.
     23                                                      23
     24                                                      24


                                                                           17 (Pages 62 to 65)
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     17                                      17
     18                                      18        Q. Okay. Fair.
     19                                      19            All right. Shifting gears. I'm
     20                                      20   going to now talk to you about -- because you're
     21                                      21   uncle did identify you as someone with
     22                                      22   knowledge, and I think we spoke about the
     23                                      23   policies and procedures. So we're going to talk
     24                                      24   about some of those, okay?


                                                                                        Page 69
      1                                       1         A. Yes.
      2                                       2         Q. We are going to look at --
      3                                       3             MR. REINS: So, Zach, for
      4                                       4         your purposes, PSI-4040.
      5                                       5             For record purposes, PSI-648.
      6                                       6         And, folks, I have hard copies. If
      7                                       7         anybody wants one, just let me
      8                                       8         know, but --
      9                                       9         Q. All right. So we're --
     10                                      10             MR. CLARK: I'll take a hard
     11                                      11         copy.
     12                                      12             MR. REINS: Oh, absolutely.
     13                                      13             MR. CLARK: Thank you.
     14                                      14   BY MR. REINS:
     15                                      15         Q. So we are going to talk here
     16                                      16   about -- this one is called Prescription Supply,
     17                                      17   Inc. This is Inventory Controls, and obviously
     18                                      18   that's the document name. And then underneath
     19                                      19   it says "Document control number: WP-1."
     20                                      20             Do you know what that is
     21                                      21   indicative of?
     22                                      22         A. Warehouse procedure 1.
     23                                      23         Q. Gotcha. And forgive me. I don't
     24                                      24   believe we have it, but if we have, I apologize,


                                                            18 (Pages 66 to 69)
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      1   but -- so obviously there are warehouse policies    1   mean it wasn't reviewed.
      2   and procedures. Do you know how many there are?     2       Q. Gotcha. So it was reviewed
      3             MR. CLARK: Objection. Form.               3   annually but the first time it was revised was
      4         Q. Let me ask a better question.              4   2008?
      5   There's a table of contents, correct?               5       A. Correct.
      6             MR. CLARK: Same objection.                6            MR. CLARK: Objection to
      7         A. All the policies and -- the                7       form. Give me a second.
      8   written policies and procedures we have are in      8            THE WITNESS: Yes. Thank
      9   the documents that have been provided.              9       you.
     10         Q. Just to cover myself, there are           10            MR. REINS: Got it.
     11   warehouse policies and procedures. Are there       11            I'm going to -- if there
     12   other department policies and procedures?          12       isn't a request out there -- and
     13             MR. CLARK: Same objection.               13       that would be my ignorance -- but I
     14         A. For example, human resources, HR1,        14       will simply put and make it known
     15   2, or 3, background checks, those types of         15       that we're going to want those,
     16   things.                                            16       whatever is available in the cloud,
     17         Q. Got it.                                   17       to try to determine the revisions
     18         A. So the control number was placed          18       that have been made historically,
     19   simply for organizational purposes.                19       okay?
     20         Q. What do you mean?                         20            MR. CLARK: We'll take it
     21         A. The document -- so that -- it was         21       under advisement.
     22   easier to reference.                               22            MR. REINS: Sure. Yeah. I
     23         Q. How many WPs are there?                   23       know you're not agreeing, but I
     24         A. I believe 13 or 14.                       24       guess finding out what's out there

                                               Page 71                                                Page 73
      1          Q. And those have developed over the         1         is going to be the first step.
      2   years?                                              2   BY MR. REINS:
      3          A. Correct.                                  3         Q. All right. So this policy says,
      4          Q. For instance, this one was -- the         4   "Prescription Supply, Inc. will monitor
      5   effective date is June 2000, meaning that's when    5   inventory for cyclical accounts."
      6   it first became -- came into effect, correct?       6             What does that mean?
      7          A. Correct.                                  7         A. We do inventory checks on lines on
      8          Q. Now, if we wanted to see --               8   a regular basis so that we are not overstocking
      9   there's a number of revision dates there. If we     9   product. So we do counts -- they're cyclical in
     10   wanted to know what was revised specifically in    10   that they're every month or every two months or
     11   accordance with a particular date, do you have     11   whatever.
     12   the older versions so that we can compare to see   12         Q. Okay. Suspicious purchases and
     13   what was added and/or edited?                      13   losses, I think we've covered that as best we
     14              MR. CLARK: Objection to                 14   can.
     15          form.                                       15             Theft or otherwise missing
     16          A. There may be some if it was saved        16   products.
     17   to the cloud. And all documents were not always    17
     18   saved to the cloud originally back then. The       18
     19   revision dates coincide with annual reviews.       19
     20          Q. Well, you say "annual reviews,"          20
     21   but there's not a revision date until 2008,        21
     22   which would be eight afters after it was           22
     23   created, correct?                                  23
     24          A. A revision date. That doesn't            24


                                                                           19 (Pages 70 to 73)
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     12                                      12       Q. Okay.
     13                                      13           MR. CLARK: Just go off the
     14                                      14       record for one second.
     15                                      15           MR. REINS: Sure.
     16                                      16           (Brief off-record discussion.)
     17                                      17           MR. REINS: Are we off or on?
     18                                      18           THE VIDEOGRAPHER: I need --
     19                                      19           MR. REINS: That's okay. No,
     20                                      20       no. We'll stay on.
     21                                      21   BY MR. REINS:
     22                                      22       Q. And this might be my ignorance.
     23                                      23   Do you have more than one uncle in the business?
     24                                      24       A. No.


                                                           20 (Pages 74 to 77)
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      1                                                       1   that -- in fairness to you, I know what this
      2                                                       2   says, but you've testified here today honestly,
      3                                                       3   correct?
      4                                                       4         A. Absolutely.
      5                                                       5         Q. So meaning -- and what I mean by
      6                                                       6   that is, even though it says your position,
      7                                                       7   you've really elaborated for us the folks that
      8                                                       8   are truly involved in maintaining these records,
      9                                                       9   correct?
     10                                                      10             MR. CLARK: Objection to
     11                                                      11         form.
     12                                                      12         A. They are also -- yeah. They're --
     13                                                      13   they are involved in the process, yes.
     14                                                      14         Q. Heavily involved, respectfully?
     15                                                      15             MR. CLARK: Same objection.
     16                                                      16         A. I would agree with that.
     17                                                      17         Q. Okay. We saw the quote, and you
     18                                                      18   agreed with it, from your uncle's deposition
     19                                                      19   that -- regarding the shipping requirement or
     20                                                      20   the prevention of shipping in certain instances.
     21                                                      21   I have a hard copy of this document just so you
     22                                                      22   can take a look at it.
     23                                                      23             I don't see anything in this
     24                                                      24   policy and procedure -- and I'm not here to rush

                                                                                                      Page 81
      1                                                       1   you, so take -- I'm sure you've seen this
      2                                                       2   before, this policy?
      3                                                       3         A. I have.
      4                                                       4         Q. Okay. Maybe even in preparation
      5                                                       5   for today. So my question to you is, I did not
      6          Q. "DR" -- this is the third full            6   see anything in here regarding the shipping
      7    paragraph, "DR/DR supervisor shall jointly         7   requirement.
      8    review all reports and information approving       8             MR. CLARK: Objection to
      9    necessary changes, formulating and carrying out    9         form.
     10    all internal investigations, recommending and     10         Q. First question is, am I correct?
     11    establishing necessary procedural changes,        11             MR. CLARK: Same objection.
     12    notifying all applicable agencies, which are      12         A. The shipping requirement?
     13    identified therein, storage of records as         13         Q. Meaning stopping orders from being
     14    required by law for at least six years."          14   shipped for unusual activity, "suspicious
     15              Again, that would be Jim, Kirk,         15   orders."
     16    correct?                                          16             MR. CLARK: Objection to
     17              MR. CLARK: Objection to                 17         form.
     18          form.                                       18         A. I would have to reread this
     19          A. It says "DR/DR supervisor." I'm          19   thoroughly. I believe more specifically it's
     20    not clear on your question.                       20   covered under a different procedure.
     21          Q. Who is it referring to, the DR/DR        21         Q. And that was going to be my next
     22    supervisor?                                       22   question. Do you know what procedure that would
     23          A. Tom and myself.                          23   be?
     24          Q. Okay. But I think we've covered          24             MR. CLARK: Objection to


                                                                           21 (Pages 78 to 81)
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      1          form.                                         1   deposition, this is 1006, page 155, line 12. He
      2          A. I believe it's the controlled              2   was asked the question, specifically your uncle,
      3    substance.                                          3   in the deposition:
      4          Q. Okay.                                      4             "Do you know if Prescription
      5          A. I don't recall the number,                 5   Supply has maintained copies from the original
      6    document control number.                            6   of June of 2000?
      7          Q. We'll get there. I think I have            7             "I don't know.
      8    that one. So my -- let me just finish up with       8             "Who would be the best person at
      9    this one.                                           9   Prescription Supply to ask. Any idea?
     10              Was there any policies and               10             "Well, yeah. I mean the --
     11    procedures dealing with these issues that are      11             "And what I'm looking for, is
     12    dealt with in here, suspicious orders,             12   there someone that would just deal with this
     13    reporting, things of that nature, before June of   13   administrative stuff, that may be --
     14    2000?                                              14             Answer, "Candy would have -- Candy
     15              MR. CLARK: Objection to                  15   Harbauer would have probably been doing most of
     16          form.                                        16   this."
     17          A. There were no written policies.           17             You've testified to the best of
     18          Q. Okay. Were there non-written              18   your abilities as to what you recall, correct?
     19    ones?                                              19             MR. CLARK: Objection to the
     20              MR. CLARK: Same objection.               20         preamble.
     21          Q. If you know.                              21             Go on.
     22          A. I believe so, because we -- again,        22         Q. Are you Candy?
     23    I'm not filling the orders, so I --                23         A. I am.
     24          Q. Okay. Fair enough.                        24         Q. Okay. Fair enough.


                                                Page 83                                                 Page 85
      1            MR. CLARK: Are you finished?                1             All right. I do want to talk
      2        Were you done?                                  2   about -- there's -- the next policy and
      3            THE WITNESS: Yeah.                          3   procedure.
      4   BY MR. REINS:                                        4             MR. REINS: And this is going
      5        Q. But you're not aware of any                  5        to be, Zach, for you, this is PSI
      6   written procedures prior to this one, correct?       6        1007.
      7            MR. CLARK: Objection to                     7             For record purposes, it's PSI
      8        form.                                           8        653.
      9        A. That is correct.                             9   BY MR. REINS:
     10        Q. And if I wanted to -- given the             10        Q. All right. And here's the one I
     11   time frame you told me you came back, you're not    11   think we're talking about, controlled
     12   the one to ask if there are policies that are       12   substances. And you said, I think there's
     13   unwritten, correct?                                 13   another one that deals with that, right? The
     14            MR. CLARK: Same objection.                 14   issue of the shipment issue, correct?
     15        A. Tom and Jackie -- Tom -- well, Tom          15        A. Correct.
     16   primarily would -- is the one.                      16        Q. Now, I'm going to -- this is a
     17        Q. Okay.                                       17   short one. So I'm going to give you a hard
     18            MR. REINS: We'll make that                 18   copy.
     19        Exhibit 3.                                     19        A. Thank you.
     20                ---                                    20        Q. You're welcome.
     21        (PSI-Harbauer Exhibit 3 marked.)               21             This will be Plaintiff's
     22                ---                                    22   Exhibit 4. And correct me if I'm wrong. I
     23   BY MR. REINS:                                       23   don't see it in -- anything about shipping or
     24        Q. So if we go back to his                     24   stopping shipments regarding suspicious orders


                                                                             22 (Pages 82 to 85)
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      1   in here?                                            1          Q. Okay.
      2         A. I -- as I quickly scan this, I             2          A. -- of orders of interest. The
      3   concur it's not written there.                      3   threshold system stops orders.
      4         Q. Okay.                                      4          Q. Okay. Do you know -- other than
      5         A. I know it's written. I just can't          5   the reporting that Kirk did, are you aware of
      6   tell you where.                                     6   any other documents that were created regarding
      7         Q. I'll just put on the record that           7   potential concerns in regarding to ordering?
      8   if you have a policy that deals with that, if       8             MR. CLARK: Objection to
      9   you could produce it to us.                         9          form.
     10             Now, there is one we're going            10          A. Can you explain your question a
     11   to -- there's one more we're talking about,        11   little more for me.
     12   which we'll talk about it in a minute. But         12          Q. Yeah. Of course. Are there --
     13   these were all the ones that were in effect in     13   were there any other documents generated as a
     14   2000, correct?                                     14   result of what we just read, if you know?
     15             MR. CLARK: Objection to                  15             MR. CLARK: Same objection.
     16         form.                                        16          A. The variance reports, you'd have
     17         A. These were written --                     17   to ask -- because I'm not dealing with it. I
     18         Q. Yes.                                      18   know we have other forms that are used by Jim
     19         A. -- in 2000.                               19   Schoen.
     20         Q. Okay. And this is WP-2, so this           20          Q. Okay. That is exactly what I was
     21   would be the warehouse policy number 2, correct?   21   trying to ask you, so thank you.
     22         A. Correct.                                  22             That's Exhibit Number 4.
     23         Q. I think it kind of touches on what        23                 ---
     24   we just went over, correct, the other policy,      24          (PSI-Harbauer Exhibit 4 marked.)


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      1    for the most part?                                 1                 ---
      2             MR. CLARK: Objection. Form.               2   BY MR. REINS:
      3          A. I don't understand your question.         3        Q. Same question, just to finish up
      4          Q. Let me withdraw it and rephrase.          4   on that policy, whether there were policies
      5             Under "Responsibilities," third           5   regarding that particular issues covered in
      6    paragraph, it says, "IT manager shall compile      6   there before 2000, you would be -- you're not
      7    reports monthly regarding purchases of             7   aware of any written policies, correct?
      8    controlled substances, threshold limits and        8            MR. CLARK: Objection to
      9    suspicious order monitoring."                      9        form.
     10             Next paragraph, "DR/DR                   10        A. I am not aware of any written
     11    supervisor" -- that's you, and your uncle,        11   policies prior to that.
     12    correct?                                          12        Q. Okay. We'll move on to another
     13          A. Correct.                                 13   policy that has been produced to us. This might
     14          Q. -- "shall review all relevant            14   be the one you were thinking of. It's called
     15    purchase and sales reports, consult with IT       15   "The REMS do not ship program."
     16    manager for necessary changes and handle any      16            I'm going to hand that to you so
     17    concerns or problems as they arise."              17   you have a hard copy. This will be Plaintiffs'
     18             If he saw something suspicious or        18   Exhibit Number 5.
     19    if he saw an order of concern, he should have     19                 ---
     20    advised you, correct?                             20        (PSI-Harbauer Exhibit 5 marked.)
     21             MR. CLARK: Objection to                  21                 ---
     22          form.                                       22   BY MR. REINS:
     23          A. When Kirk was doing the variance         23        Q. Take a moment and look it over.
     24    reports, yes, he did advise Tom of concerns --    24   And I'm just going to level with you. I did not


                                                                           23 (Pages 86 to 89)
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      9                                       9             Were you involved in the
     10                                      10   investigation by the Ohio State Board of
     11                                      11   Pharmacy?
     12                                      12             MR. CLARK: Objection to
     13                                      13         form.
     14                                      14         A. Involved in what way?
     15                                      15         Q. That's what I want to know. You
     16                                      16   either were or you weren't. I have the reports.
     17                                      17   I just didn't know if you were personally
     18                                      18   involved in that. The investigation of it, the
     19                                      19   due diligence, the working with the state,
     20                                      20   any -- I don't know the answer to it, so ...
     21                                      21             MR. CLARK: Objection to
     22                                      22         form.
     23                                      23         A. I guess I need to clarify. Are
     24                                      24   you talking about the initial one that was in


                                                           24 (Pages 90 to 93)
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      1    spring, or the October one.                         1         A. In the spring?
      2         Q. Let's take them one at a time.              2         Q. The one you were just speaking of.
      3         A. Okay.                                       3         A. I believe they were just coming in
      4         Q. The one in spring of what year?             4   for a routine inspection. They had not been
      5         A. Was it 2017, I believe?                     5   there since we moved into the building.
      6         Q. Right.                                      6         Q. All right. And then when was the
      7         A. I think --                                  7   second one that you were referencing?
      8         Q. Do you -- so go ahead. Yes,                 8             MR. CLARK: Objection to
      9    ma'am. Were you involved in that one? Sorry.        9         form.
     10         A. I was asked to present documents           10         A. We -- in the fall, we received a
     11    of policies and procedures. I was asked            11   investigation, I guess is the word. They were
     12    information about continuing education. As I       12   requesting information about some specific
     13    recall, that's predominantly -- I was basically    13   pharmacies.
     14    pulled in and out.                                 14         Q. Do you know what the outcome of
     15         Q. Okay. Limited involvement?                 15   that investigation -- well, first of all, were
     16         A. Yes.                                       16   you involved in that investigation?
     17         Q. Specifically regarding the                 17             MR. CLARK: Objection to
     18    policies?                                          18         form.
     19         A. Correct.                                   19         A. What I did was to basically
     20              MR. CLARK: Objection to                  20   compile the information, type the responses and
     21         form.                                         21   submit them.
     22         Q. Were there policies that you               22         Q. You typed them?
     23    provided to them that we haven't looked at         23             MR. CLARK: Objection to
     24    today?                                             24         form.

                                                Page 95                                                 Page 97
      1              MR. CLARK: Objection to                   1         Q. I'm sorry. You were the one who
      2         form.                                          2   actually responded, or was it Tom?
      3         A. You have all our policies.                  3             MR. CLARK: Same objection.
      4         Q. Okay. But did you speak with them           4         A. As a small company, we interface.
      5    about any policies that we didn't talk about        5         Q. Okay.
      6    here today?                                         6         A. And so it's all together. I mean,
      7              MR. CLARK: Objection to                   7   we -- we talk about it. We formulate it. I do
      8         form.                                          8   the physical typing. He reviews.
      9         A. I do not recall. I do not believe           9         Q. Okay. Did you verify the
     10    so.                                                10   information before you typed it?
     11         Q. Are there separate policies and            11             MR. CLARK: Objection to
     12    procedures regarding the compliance of the state   12         form.
     13    regulations versus the federal regulations, are    13         A. I received the information from
     14    there -- or should they be compiled in both?       14   sales history, reporting that they pulled up, or
     15              MR. CLARK: Objection to                  15   from Jim Schoen and his information, and from
     16         form.                                         16   Tom.
     17         A. You have all the policies and              17         Q. Gotcha. So you were more of a
     18    everything is one --                               18   facilitator of the information, not the
     19         Q. Policy?                                    19   originator, so to speak?
     20         A. -- policy.                                 20         A. That's a fair statement.
     21         Q. Okay. Do you know what they were           21         Q. Okay. Do you know what the
     22    investigating in the spring?                       22   outcome was of that?
     23              MR. CLARK: Objection to                  23             MR. CLARK: Objection to
     24         form.                                         24         form.


                                                                            25 (Pages 94 to 97)
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      1         A. I understand that they replied             1
      2   back, and then my assumption and my opinion was     2
      3   that -- that there were no -- they understood       3
      4   what the explanations were and it was               4
      5   satisfactory because there was no responses         5
      6   after that.                                         6
      7         Q. Do you know that to be true,               7
      8   meaning, did you ever see any documentation         8
      9   either clearing the company or finding no           9
     10   deficiencies?                                      10
     11             MR. CLARK: Objection to                  11
     12         form.                                        12
     13         Q. Meaning -- no disrespect, but             13
     14   there might have been something that came          14
     15   through the course of correspondence that you      15
     16   may not have seen, for whatever reason. But        16
     17   have you ever seen anything in writing clearing    17
     18   the company?                                       18
     19             MR. CLARK: Objection to                  19
     20         form.                                        20
     21         A. Boy. I honestly can't tell you            21
     22   whether there was a final e-mail that said thank   22
     23   you very much. You know, that's very probable,     23
     24   but I couldn't swear to it one way or the other.   24


                                               Page 99
      1        Q. Fair.                                       1
      2        A. I know -- that's fine.                      2
      3                                                       3
      4                                                       4
      5                                                       5
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                                                                  26 (Pages 98 to 101)
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      1                                                       1   should have said this a while ago. It's not
      2                                                       2   just let me finish. It's your attorney wants to
      3                                                       3   object potentially.
      4                                                       4         A. I understand.
      5                                                       5         Q. So it's kind of a me finish and a
      6                                                       6   pause and then answer, so ... and that's my
      7         Q. And I had a feeling. I'm going to          7   fault. I should have said that before.
      8    take those back. And I will attach not -- well,    8             There's no way you remember my
      9    yeah, I will attach it so we know what we have     9   question, so let me go ahead and rephrase it.
     10    looked at.                                        10
     11             MR. CLARK: When you have a               11
     12         good moment to break, I'd like to            12
     13         take another five minutes.                   13
     14             MR. REINS: Yeah. I'll tell               14
     15         you, though, I'm getting -- I'm              15
     16         almost done, for what it's worth.            16
     17             MR. CLARK: Can we still do a             17
     18         five-minute break?                           18
     19             MR. REINS: Oh, yeah, of                  19
     20         course. Let's do it now.                     20
     21             MR. CLARK: Okay. Good.                   21
     22             THE VIDEOGRAPHER: We're                  22
     23         going off the record at 10:45.               23
     24             (Recess taken.)                          24


                                             Page 103
      1          THE VIDEOGRAPHER: We're back                 1
      2      on the record at 10:53.                          2
      3   BY MR. REINS:                                       3
      4                                                       4
      5                                                       5       Q.   All right. I'm going to show you
      6                                                       6   now --
      7                                                       7             MR. REINS: This is going to
      8                                                       8        be, Zach, PSI-301. Record
      9                                                       9        purposes -- no, we're going to go
     10                                                      10        with that. That's a real long
     11                                                      11        number. It will ultimately be
     12                                                      12        Exhibit Number 7.
     13                                                      13                 ---
     14                                                      14        (PSI-Harbauer Exhibit 7 marked.)
     15                                                      15                 ---
     16                                                      16   BY MR. REINS:
     17                                                      17        Q. You're free to -- I'll give you a
     18                                                      18   hard copy.
     19                                                      19        A. Thank you.
     20                                                      20        Q. All right. So we're going to now
     21            MR. CLARK: Hold on a second.              21   look at -- and I'll tell you a little bit of
     22        Let him finish.                               22   background, because you're going to say, "Why am
     23            Objection to form.                        23   I looking at this?"
     24        Q. So I think -- and this is -- I             24             This document was specifically


                                                                       27 (Pages 102 to 105)
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      1   mailed out to all of the distributors. It's         1   2006 regarding a number of things, including
      2   been my understanding, stipulated, that PSI also    2   shipping requirements. Do you recall ever
      3   received one of these, but you all don't have a     3   having a conversation with anybody within your
      4   copy anymore so we're using this one as a go by     4   company about this letter in relation to the
      5   because we believe the language is standard,        5   existing policies and procedures?
      6   okay?                                               6             MR. CLARK: Objection. Form.
      7        A. I accept that.                              7         A. I, having not seen the letter,
      8        Q. Okay. Fair enough.                          8   can't -- would not have discussed it.
      9            MR. CLARK: I object to the                 9         Q. Thank you.
     10        form. But go ahead.                           10             MR. CLARK: Did you mark
     11        Q. Hopefully I didn't misstate that.          11         this?
     12            So this is going to be dated              12             MR. REINS: I did, Number 7.
     13   September 27, 2006, and this is going to be        13             MR. CLARK: Okay.
     14   basically from the Department of -- I'm sorry.     14             MR. REINS: Did you get a
     15   U.S. Department of Justice Drug Enforcement        15         copy? Yeah.
     16   Agency Administration. Take a moment and look      16             MR. CLARK: I did. Thank
     17   it over because my first question is going to      17         you.
     18   be, do you recall this, receiving this letter?     18             MR. REINS: Madam court
     19            MR. CLARK: Before you                     19         reporter, I accidentally gave you
     20        answer, I object to the form.                 20         my highlighted copy. Can you
     21            MR. REINS: You certainly                  21         restamp it? Make a copy of it. I
     22        find me objectionable, sir.                   22         don't like the highlighting in the
     23            MR. CLARK: Nothing personal.              23         record.
     24            MR. REINS: None taken.                    24                  ---


                                             Page 107                                               Page 109
      1        A. Just reading the first few                  1         (PSI-Harbauer Exhibit 8 marked.)
      2   paragraphs, I can tell you I don't believe I        2                 ---
      3   have seen this document.                            3   BY MR. REINS:
      4        Q. Fair enough.                                4         Q. All right. So this is another one
      5             My second question is going to            5   that was done December of the following year.
      6   build off of that but it may not make sense         6   This will be Plaintiff's Exhibit Number 8. And
      7   based on what you just said. But there were         7   you probably know we're going to treat it the
      8   some revisions not before 2008. I know you said     8   same way. This was December 27, 2007. This is
      9   you would review the policies and procedures        9   again by the DEA regarding the rules and
     10   annually.                                          10   regulations regarding controlled substances and
     11             Let me start again, okay, so we          11   the duties and obligations.
     12   get a clean -- so let me shift gears, okay.        12            And so my question to you will be,
     13             You testified earlier that you           13   do you recall reviewing this one?
     14   would review the company's policies and            14            MR. CLARK: Objection to
     15   procedures annually; am I correct?                 15         form.
     16        A. That is correct.                           16         A. I do not recall, to the best of my
     17        Q. You said that doesn't necessarily          17   knowledge, after just scanning this, that I saw
     18   mean we would revise it, and there were no         18   this.
     19   revisions, according to the policies and           19         Q. Fair to say, then, that you do not
     20   procedures we discussed, before December of        20   have a recollection or belief that this was
     21   2008, I'll represent to you.                       21   contemplated in regards to amending or revising
     22             MR. CLARK: Objection to                  22   the policies and procedures for the company?
     23        form.                                         23            MR. CLARK: Objection to
     24        Q. This letter was in September of            24         form.


                                                                       28 (Pages 106 to 109)
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      1                                                      1            MR. CLARK: Objection to
      2                                                      2        form.
      3                                                      3        A. The whole Controlled Substances
      4                                                      4   Act is to help regulate and to follow these
      5                                                      5   regulations, and if I -- that letter appeared to
      6                                                      6   be a further explanation of that process; is
      7                                                      7   that correct?
      8                                                      8        Q. That's correct.
      9                                                      9        A. Okay.
     10                                                     10        Q. I guess what -- and I'm not
     11                                                     11   debating it -- I don't think I am. The purpose
     12                                                     12   of the Controlled Substances Act is to try and
     13                                                     13   minimize abuse and diversion in this country,
     14                                                     14   correct?
     15                                                     15            MR. CLARK: Objection.
     16                                                     16        Argumentative. Calls for a legal
     17                                                     17        conclusion. Form.
     18                                                     18        A. I would agree that it's -- it is
     19                                                     19   trying to regulate the process and keep the
     20                                                     20   product in -- yes.
     21                                                     21        Q. Keep people safe, correct?
     22                                                     22            MR. CLARK: Objection to
     23                                                     23        form.
     24                                                     24        A. To keep the pharmaceutical

                                                                                                    Page 113
      1                                                      1   industry regulated and to keep the drugs in the
      2                                                      2   system, keep it legal is ...
      3                                                      3        Q. Let me give you back that
      4                                                      4   document.
      5                                                      5        A. Thank you.
      6                                                      6        Q. I'm sorry. That's the wrong one.
      7                                                      7   The one before it, which is going to be Exhibit
      8                                                      8   Number 7.
      9                                                      9        A. Thank you.
     10                                                     10        Q. Are you with me?
     11                                                     11        A. I have 7.
     12                                                     12             MR. CLARK: Before -- this is
     13                                                     13        your highlighted copy.
     14                                                     14             MR. REINS: Okay. Yeah. Let
     15                                                     15        me -- I'm going to fix that. We'll
     16                                                     16        get that fixed.
     17                                                     17             MR. CLARK: I'll give her my
     18                                                     18        clean copy.
     19                                                     19             MR. REINS: Okay. Thank you,
     20                                                     20        sir.
     21                                                     21             THE ITNESS: Thank you.
     22          Q. And to try and prevent drug             22   BY MR. REINS:
     23    diversion, which has affected many communities   23        Q. So we're now looking at Exhibit
     24    in this country, correct?                        24   Number 7, which is specifically from the DEA,


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      1    and I want to look quickly at the background       1   this deposition that you try to operate your
      2    paragraph. "As each of you is undoubtedly          2   company in an ethical manner; is that right?
      3    aware, the abuse (nonmedical use) of controlled    3         A. Yes.
      4    prescription drugs is a serious and growing        4         Q. What I'm asking you is, you have
      5    health problem in this country."                   5   an ethical obligation to make sure, follow all
      6              Do you take issue with that              6   of these safety rules and regulations to the
      7    sentence --                                        7   utmost of your abilities to make sure that you
      8              MR. CLARK: Objection to                  8   are not part of the problem of the opioid
      9          form.                                        9   crisis, correct?
     10          Q. -- by the -- by the Drug                 10             MR. CLARK: Objection to
     11    Enforcement Administration?                       11         form.
     12              MR. CLARK: Same objection.              12         A. We have -- we have the
     13          A. That is their stance. That's what        13   responsibility and the legal duty to comply with
     14    it says they believe.                             14   the law to the best of our ability and, you
     15          Q. I know what it says, ma'am,              15   know, to -- to follow the rules and regs.
     16    respectfully, but do you take issue with that     16   That's what we're obligated to do.
     17    statement?                                        17         Q. And the reason why we started this
     18              MR. CLARK: Same objection.              18   discussion is, the very purpose of these rules
     19          A. No, I do not.                            19   and regs are to protect the safety of our
     20          Q. You know that this is a growing          20   citizens, correct?
     21    health crisis in our nation; do you not?          21             MR. CLARK: Objection to
     22              MR. CLARK: Objection to                 22         form.
     23          form. Argumentative.                        23         A. Based on what you showed me, the
     24          A. I know that illegal diversion of         24   reading of the words, it appears that's what it

                                              Page 115                                               Page 117
      1    drugs causes problems.                             1   said, yes, that -- I can't speak to their
      2         Q. You know that the abuse of legal           2   intent, but that's what it looks like.
      3    drugs is causing a problem, correct?               3         Q. Based on what you read?
      4             MR. CLARK: Objection to                   4            MR. CLARK: Objection to
      5         form. Argumentative.                          5         form.
      6         A. Based on the news that I have              6         A. What you showed me earlier.
      7    heard, yes, I would say that abuse of drugs is     7         Q. But no internal investigation as
      8    creating a health problem.                         8   to how the company, your company -- let me
      9         Q. And as a distributor of some of            9   rephrase that. I'm going to withdraw that
     10    those drugs, you have an obligation -- you        10   question.
     11    mentioned to me in the beginning of this          11            The only information you've heard
     12    deposition -- do you remember the word you        12   regarding the epidemic, as some are calling it,
     13    used -- "ethics." You have an ethical             13   is based on what you've seen on the news,
     14    obligation to make sure you are not part of the   14   correct?
     15    problem but part of the solution; is that fair    15            MR. CLARK: Objection to
     16    to say?                                           16         form.
     17             MR. CLARK: Objection to                  17         Q. And what you're reading here?
     18         form. Misstates the testimony.               18            MR. CLARK: Same objection.
     19         Argumentative.                               19         A. Yes.
     20         Q. Would you agree with that?                20            MR. REINS: I have no more
     21             MR. CLARK: Same objection.               21         questions, ma'am. I appreciate
     22         A. I'm sorry. Would you repeat it?           22         your time here today.
     23         Q. Sure.                                     23            THE WITNESS: Thank you.
     24             You stated at the beginning of           24            MR. CLARK: I have no


                                                                       30 (Pages 114 to 117)
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      1        questions.                                           1                CERTIFICATE
                                                                    2   STATE OF OHIO           :
      2            THE VIDEOGRAPHER: We're                                                  SS:
      3        going off the record at 11:07 a.m.                   3   COUNTY OF FRANKLIN :
                                                                    4          I, Carol A. Kirk, a Registered Merit
      4         (Signature not waived.)                                 Reporter and Notary Public in and for the State of
      5                 ---                                         5   Ohio, duly commissioned and qualified, do hereby
                                                                        certify that the within-named CANDACE HARBAUER was by
      6         Thereupon, at 11:07 a.m., on Tuesday,               6   me first duly sworn to testify to the truth, the whole
      7    February 19, 2019, the deposition was concluded.             truth, and nothing but the truth in the cause
                                                                    7   aforesaid; that the deposition then given by her was
      8                 ---                                             by me reduced to stenotype in the presence of said
      9                                                             8   witness; that the foregoing is a true and correct
                                                                        transcript of the deposition so given by her; that the
     10                                                             9   deposition was taken at the time and place in the
                                                                        caption specified and was completed without
     11                                                            10   adjournment; and that I am in no way related to or
     12                                                                 employed by any attorney or party hereto or
                                                                   11   financially interested in the action; and I am not,
     13                                                                 nor is the court reporting firm with which I am
     14                                                            12   affiliated, under a contract as defined in Civil Rule
                                                                        28(D).
     15                                                            13
     16                                                                       IN WITNESS WHEREOF, I have hereunto set my
                                                                   14   hand and affixed my seal of office at Columbus, Ohio
     17                                                                 on this 22nd day of February 2019.
     18                                                            15
                                                                   16
     19                                                            17
     20                                                            18               _____________________________
                                                                                    CAROL A. KIRK, RMR
     21                                                            19               NOTARY PUBLIC - STATE OF OHIO
     22                                                            20   My Commission Expires: April 9, 2022.
                                                                   21            ---
     23                                                            22
                                                                   23
     24                                                            24


                                                  Page 119                                                          Page 121
      1           CERTIFICATE                                       1           DEPOSITION ERRATA SHEET
      2   STATE OF OHIO     :                                       2   I, CANDACE HARBAUER, have read the transcript
                        SS:                                             of my deposition taken on the 19th day of February
      3   COUNTY OF __________:                                     3   2019, or the same has been read to me. I request that
      4                                                                 the following changes be entered upon the record for
      5          I, CANDACE HARBAUER, do hereby certify that        4   the reasons so indicated. I have signed the signature
      6   I have read the foregoing transcript of my                    page and authorize you to attach the same to the
      7   cross-examination given on February 19, 2019; that        5   original transcript.
      8   together with the correction page attached hereto         6   Page Line Correction or Change and Reason:
      9   noting changes in form or substance, if any, it is        7   ___ ____ ___________________________________________
     10   true and correct.                                         8   ___ ____ ___________________________________________
     11                   _____________________________             9   ___ ____ ___________________________________________
                          CANDACE HARBAUER                         10   ___ ____ ___________________________________________
     12                                                            11   ___ ____ ___________________________________________
     13         I do hereby certify that the foregoing             12   ___ ____ ___________________________________________
     14   transcript of the cross-examination of CANDACE           13   ___ ____ ___________________________________________
     15   HARBAUER was submitted to the witness for reading and    14   ___ ____ ___________________________________________
     16   signing; that after she had stated to the undersigned    15   ___ ____ ___________________________________________
     17   Notary Public that she had read and examined her         16   ___ ____ ___________________________________________
     18   cross-examination, she signed the same in my presence    17   ___ ____ ___________________________________________
     19   on the _______ day of _________________________, 2019.   18   ___ ____ ___________________________________________
     20                                                            19   ___ ____ ___________________________________________
                       _____________________________               20   ___ ____ ___________________________________________
     21                NOTARY PUBLIC - STATE OF OHIO               21   ___ ____ ___________________________________________
     22                                                            22   ___ ____ ___________________________________________
     23   My Commission Expires:                                   23   ___ ____ ___________________________________________
     24   _________________, ______.                               24   Date ______________ Signature ________________________


                                                                                31 (Pages 118 to 121)
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